Case:Case
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                      United States Court of Appeals
                                       For the First Circuit
                                           _____________________

      No. 22-1294

         HYUN CHOI, individually and on behalf of all others similarly situated; ANNA HOUSE,
        individually and on behalf of all others similarly situated; AMY PHAM, individually and on
                                    behalf of all others similarly situated,

                                             Plaintiffs - Appellants,

                                                        v.

               BROWN UNIVERSITY; THE CORPORATION OF BROWN UNIVERSITY,

                                            Defendants - Appellees.
                                            __________________

                                             ORDER OF COURT

                                            Entered: August 8, 2022

              The parties' joint motion to remand the case to the district court is granted, and the case is
      remanded for purposes consistent with the parties' joint motion. Jurisdiction is retained and
      appellate proceedings are stayed. Fed. R. App. P. 12.1(b). The parties shall file status reports every
      thirty days.


                                                             By the Court:

                                                             Maria R. Hamilton, Clerk


      cc:
      Hon. John J. McConnell
      Hanorah Tyer-Witek, Clerk, United States District Court for the District of Rhode Island
      Steve W. Berman
      David J. Strachman
      Stephen M. Prignano
      Daniel John Kurowski
      Joseph D. Whelan
      Robert Clark Corrente
      Amy Mason Saharia
      Amanda Margaret MacDonald
